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                          IN THE CIRCUIT COURT
                            STATE OF MISSOURI
                     TWENTY-SECOND JUDICIAL CIRCUIT
                              (City of St. Louis)

DAVID BUTLER and KATHY BUTLER, his wife,        )
                                                )
             Petitioners,                       )      Cause No. _______________
                                                )
       v.                                       )
                                                )      PERSONAL INJURY
A.W. CHESTERTON COMPANY,                        )
ALLIED PAINT & WALLPAPER COMPANY, INC.,         )      PRODUCTS LIABILITY
BRAND INSULATIONS, INC.,                        )
BWDAC INC., f/k/a BWD AUTOMOTIVE                )      JURY TRIAL DEMANDED
  CORPORATION,                                  )
CARLISLE INDUSTRIAL BRAKE & FRICTION, INC., )
CASE NEW HOLLAND INDUSTRIAL, INC.,              )
CATERPILLAR INC.,                               )
CBS CORPORATION, a Delaware corporation f/k/a   )
  VIACOM INC. successor-by-merger to CBS        )
  CORPORATION, a Pennsylvania corporation f/k/a )
  WESTINGHOUSE ELECTRIC CORPORATION,            )
CLEAVER-BROOKS, INC.,                           )
CNH INDUSTRIAL AMERICA LLC,                     )
CRANE CO.,                                      )
CROWN CORK & SEAL COMPANY, INC.,                )
CUMMINS, INC.,                                  )
DAIMLER TRUCKS NORTH AMERICA LLC,               )
DEERE & COMPANY,                                )
EATON CORPORATION,                              )
FORD MOTOR COMPANY,                             )
FOSTER WHEELER ENERGY CORPORATION,              )
GENERAL ELECTRIC COMPANY,                       )
GENERAL GASKET CORPORATION,                     )
HERCULES, LLC,                                  )
INDUSTRIAL HOLDINGS CORPORATION f/k/a THE )
  CARBORUNDUM COMPANY,                          )
J.P. BUSHNELL PACKING,                          )
JOHN CRANE, INC.,                               )
KELLY MOORE PAINT COMPANY INC.,                 )
MACK TRUCKS INC.,                               )
MCKESSON CORPORATION,                           )
MISSOURI DRYWALL SUPPLY INC.,                   )
MORSE TEC LLC, f/k/a BORGWARNER MORSE TEC )
  LLC, and Successor-by-Merger to BORG-WARNER   )

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 CORPORATION,                                                  )
NAVISTAR INC.,                                                 )
PACCAR INC.,                                                   )
PNEUMO ABEX LLC, successor-in-interest to ABEX                 )
 CORPORATION, f/k/a PNEUMO ABEX                                )
 CORPORATION,                                                  )
RILEY STOKER CORPORATION,                                      )
UNION CARBIDE CORPORATION,                                     )
VOLVO GROUP NORTH AMERICA INC.,                                )
WESTERN AUTO SUPPLY COMPANY,                                   )
                                                               )
               Defendants.                                     )

                                            PETITION

       Petitioners David Butler and Kathy Butler by their attorneys, SIMMONS HANLY

CONROY, for their cause of action state:

                          Jurisdiction, Venue and General Allegations

       1.      Petitioners David Butler and Kathy Butler are residents of the State of Washington.

Petitioner Kathy Butler is married to Petitioner David Butler.

       2.      Petitioner David Butler was employed, at relevant times, from 1978 to 2018 as a

laborer, roofer, mechanic, and business owner/operator at various locations throughout the United

States, including, but not limited to, locations in the State of Missouri.

       3.      The following Defendants and each of them are jointly and severally liable in that

they contributed to causing Petitioner David Butler’s injuries:

                Defendant, A.W. CHESTERTON COMPANY, is a corporation
                doing business in the State of Missouri. Defendant corporation
                does not maintain a registered agent in Missouri, although it
                and/or its predecessors in interest have conducted substantial
                business in Missouri. Said corporation may be served pursuant to
                the Missouri Long-Arm Statute through its registered agent C.T.
                Corporation System, 208 South LaSalle Street, 17th Floor, Suite
                814, Chicago, IL 60604.



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           Defendant, ALLIED PAINT & WALLPAPER COMPANY,
           INC., is a corporation doing business in the State of Missouri.
           Said corporation may be served through its registered agent, 3100
           South Glenn, Springfield, MO 65807.



           Defendant, BRAND INSULATIONS, INC., is a corporation
           doing business in the State of Missouri. Defendant corporation
           does not maintain a registered agent in Missouri, although it
           and/or its predecessors in interest have conducted substantial
           business in Missouri. Said corporation may be served pursuant to
           the Missouri Long-Arm Statute through its registered agent C.T.
           Corporation System, 208 South LaSalle Street, 17th Floor, Suite
           814, Chicago, IL 60604.



           Defendant, BWDAC INC., f/k/a BWD AUTOMOTIVE
           CORPORATION, is a corporation doing business in the State of
           Missouri. Defendant corporation does not maintain a registered
           agent in Missouri, although it and/or its predecessors in interest
           have conducted substantial business in Missouri. Said corporation
           may be served pursuant to the Missouri Long-Arm Statute
           through its registered agent The Corporation Trust Company,
           Corporation Trust Center, 1209 Orange Street, Wilmington, DE
           19801.



           Defendant, CARLISLE INDUSTRIAL BRAKE & FRICTION,
           INC., is a corporation doing business in the State of Missouri.
           Said corporation may be served through its registered agent
           United Agent Group Inc., 12747 Olive Boulevard, #300, Saint
           Louis, MO 63141.




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           Defendant, CASE NEW HOLLAND INDUSTRIAL, INC., is a
           corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent C.T.
           Corporation System, 120 South Central Avenue, Clayton, MO
           63105.



           Defendant, CATERPILLAR INC., is a corporation doing business
           in the State of Missouri. Said corporation may be served through
           its registered agent CSC-Lawyers Incorporating Service
           Company, 221 Bolivar Street, Jefferson City, MO 65101.



           Defendant, CBS CORPORATION, a Delaware corporation f/k/a
           VIACOM INC. successor-by-merger to CBS CORPORATION, a
           Pennsylvania corporation f/k/a WESTINGHOUSE ELECTRIC
           CORPORATION, is a corporation doing business in the State of
           Missouri. Said corporation may be served through its registered
           agent Prentice-Hall Corporation System, 221 Bolivar Street,
           Jefferson City, MO 65101.



           Defendant, CLEAVER-BROOKS, INC., is a corporation doing
           business in the State of Missouri. Said corporation may be served
           through its registered agent CSC- Lawyers Incorporating Service
           Company, 221 Bolivar Street, Jefferson City, MO 65101.



           Defendant, CNH INDUSTRIAL AMERICA LLC, is a
           corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent C.T.
           Corporation System, 120 South Central Avenue, Clayton, MO
           63105.




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           Defendant, CRANE CO., is a corporation doing business in the
           State of Missouri. Said corporation may be served through its
           registered agent C.T. Corporation System, 120 South Central
           Avenue, Suite 400, Clayton, MO 63105.



           Defendant, CROWN CORK & SEAL COMPANY, INC., is a
           corporation doing business in the State of Missouri. Defendant
           corporation does not maintain a registered agent in Missouri,
           although it and/or its predecessors in interest have conducted
           substantial business in Missouri. Said corporation may be served
           pursuant to the Missouri Long-Arm Statute through its registered
           agent, 5555 W. 115th Street, Extension #5550, Alsip, IL 60803.



           Defendant, CUMMINS, INC., is a corporation doing business in
           the State of Missouri. Said corporation may be served through its
           registered agent Prentice-Hall Corporation System, 221 Bolivar
           Street, Jefferson City, MO 65101.



           Defendant, DAIMLER TRUCKS NORTH AMERICA LLC, is a
           corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent C.T.
           Corporation System, 120 South Central Avenue, Clayton, MO
           63105.



           Defendant, DEERE & COMPANY, is a corporation doing
           business in the State of Missouri. Said corporation may be served
           through its registered agent C.T. Corporation System, 120 South
           Central Avenue, Clayton, MO 63105.



           Defendant, EATON CORPORATION, is a corporation doing
           business in the State of Missouri. Said corporation may be served

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           through its registered agent C.T. Corporation System, 120 South
           Central Avenue, Clayton, MO 63105.



           Defendant, FORD MOTOR COMPANY, is a corporation doing
           business in the State of Missouri. Said corporation may be served
           through its registered agent The Corporation Company, 120 South
           Central Avenue, Clayton, MO 63105.



           Defendant, FOSTER WHEELER ENERGY CORPORATION, is
           a corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent c/o United
           Agent Group, Inc., 12747 Olive Boulevard, #300, St. Louis, MO
           63141.



           Defendant, GENERAL ELECTRIC COMPANY, is a corporation
           doing business in the State of Missouri. Said corporation may be
           served through its registered agent C.T. Corporation System, 120
           South Central Avenue, Suite 400, Clayton, MO 63105.



           Defendant, GENERAL GASKET CORPORATION, is a
           corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent Agent: A.J.
           Bronsky of Brown & James, 800 Market Street, Suite 1100, St.
           Louis, MO 63101.



           Defendant, HERCULES, LLC, is a corporation doing business in
           the State of Missouri. Said corporation may be served through its
           registered agent C.T. Corporation System, 120 South Central
           Avenue, Suite 400, Clayton, MO 63105.



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           Defendant, INDUSTRIAL HOLDINGS CORPORATION f/k/a
           THE CARBORUNDUM COMPANY, is a corporation doing
           business in the State of Missouri. Defendant corporation does not
           maintain a registered agent in Missouri, although it and/or its
           predecessors in interest have conducted substantial business in
           Missouri. Said corporation may be served pursuant to the
           Missouri Long-Arm Statute through its registered agent Maron &
           Marvel, P.A., 1201 North Market Street, Wilmington, DE 19801-
           1147.



           Defendant, J.P. BUSHNELL PACKING, is a corporation doing
           business in the State of Missouri. Said corporation may be served
           through its registered agent Registered Agent: Dennis Sullivan,
           Justin Sullivan, Mark Monroe or Jayne McDonald, 3041 Locust
           Street, St. Louis, MO 63103.



           Defendant, JOHN CRANE, INC., is a corporation doing business
           in the State of Missouri. Said corporation may be served through
           its registered agent C.T. Corporation System, 120 South Central
           Avenue, Suite 400, Clayton, MO 63105.



           Defendant, KELLY MOORE PAINT COMPANY INC., is a
           corporation doing business in the State of Missouri. Defendant
           corporation does not maintain a registered agent in Missouri,
           although it and/or its predecessors in interest have conducted
           substantial business in Missouri. Said corporation may be served
           pursuant to the Missouri Long-Arm Statute through its registered
           agent, 987 Commercial Street, San Carlos, CA 94070.



           Defendant, MACK TRUCKS INC., is a corporation doing
           business in the State of Missouri. Said corporation may be served



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           through its registered agent C.T. Corporation System, 120 South
           Central Avenue, Clayton, MO 63105.



           Defendant, MCKESSON CORPORATION, is a corporation
           doing business in the State of Missouri. Said corporation may be
           served through its registered agent Prentice-Hall Corporation
           System, 221 Bolivar Street, Jefferson City, MO 65101.



           Defendant, MISSOURI DRYWALL SUPPLY INC., is a
           corporation doing business in the State of Missouri. Said
           corporation may be served through its registered agent C.T.
           Corporation System, 120 South Central Avenue, Suite 400,
           Clayton, MO 63105.



           Defendant, MORSE TEC LLC, f/k/a BORGWARNER MORSE
           TEC LLC, and Successor-by-Merger to BORG-WARNER
           CORPORATION, is a corporation doing business in the State of
           Missouri. Defendant corporation does not maintain a registered
           agent in Missouri, although it and/or its predecessors in interest
           have conducted substantial business in Missouri. Said corporation
           may be served pursuant to the Missouri Long-Arm Statute
           through its registered agent C.T. Corporation Trust Company,
           1209 N. Orange Street, Wilmington, DE 19801-1120.



           Defendant, NAVISTAR INC., is a corporation doing business in
           the State of Missouri. Said corporation may be served through its
           registered agent CSC- Lawyers Incorporating Service Company,
           221 Bolivar Street, Jefferson City, MO 65101.



           Defendant, PACCAR INC., is a corporation doing business in the
           State of Missouri. Said corporation may be served through its

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           registered agent Prentice-Hall Corporation System, 221 Bolivar
           Street, Jefferson City, MO 65101.



           Defendant, PNEUMO ABEX LLC, successor-in-interest to
           ABEX CORPORATION, f/k/a PNEUMO ABEX
           CORPORATION, is a corporation doing business in the State of
           Missouri. Defendant corporation does not maintain a registered
           agent in Missouri, although it and/or its predecessors in interest
           have conducted substantial business in Missouri. Said corporation
           may be served pursuant to the Missouri Long-Arm Statute
           through its registered agent Prentice-Hall Corporation System,
           251 Little Falls Drive, Wilmington, DE 19801.



           Defendant, RILEY STOKER CORPORATION, is a corporation
           doing business in the State of Missouri. Said corporation may be
           served through its registered agent C.T. Corporation System, 120
           South Central Avenue, Suite 400, Clayton, MO 63105.



           Defendant, UNION CARBIDE CORPORATION, is a corporation
           doing business in the State of Missouri. Said corporation may be
           served through its registered agent C.T. Corporation System, 120
           South Central Avenue, Suite 400, Clayton, MO 63105.



           Defendant, VOLVO GROUP NORTH AMERICA INC., is a
           corporation doing business in the State of Missouri. Defendant
           corporation does not maintain a registered agent in Missouri,
           although it and/or its predecessors in interest have conducted
           substantial business in Missouri. Said corporation may be served
           pursuant to the Missouri Long-Arm Statute through its registered
           agent The Corporation Trust Company, 1209 Orange Street,
           Wilmington, DE 19801.



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             Defendant, WESTERN AUTO SUPPLY COMPANY, is a
             corporation doing business in the State of Missouri. Said
             corporation may be served through its registered agent National
             Registered Agents, Inc., 120 South Central Avenue, Suite 400,
             Clayton, MO 63105.



      4.     A.W. CHESTERTON COMPANY, ALLIED PAINT & WALLPAPER

COMPANY, INC., BRAND INSULATIONS, INC., BWDAC INC., f/k/a BWD AUTOMOTIVE

CORPORATION, CARLISLE INDUSTRIAL BRAKE & FRICTION, INC., CASE NEW

HOLLAND INDUSTRIAL, INC., CATERPILLAR INC., CBS CORPORATION, a Delaware

corporation f/k/a VIACOM INC. successor-by-merger to CBS CORPORATION, a Pennsylvania

corporation f/k/a WESTINGHOUSE ELECTRIC CORPORATION, CLEAVER-BROOKS,

INC., CNH INDUSTRIAL AMERICA LLC, CRANE CO., CROWN CORK & SEAL

COMPANY, INC., CUMMINS, INC., DAIMLER TRUCKS NORTH AMERICA LLC, DEERE

& COMPANY, EATON CORPORATION , FORD MOTOR COMPANY, FOSTER WHEELER

ENERGY CORPORATION, GENERAL ELECTRIC COMPANY, GENERAL GASKET

CORPORATION, HERCULES, LLC, INDUSTRIAL HOLDINGS CORPORATION f/k/a THE

CARBORUNDUM COMPANY, J.P. BUSHNELL PACKING, JOHN CRANE, INC., KELLY

MOORE PAINT COMPANY INC., MACK TRUCKS INC., MCKESSON CORPORATION,

MISSOURI DRYWALL SUPPLY INC., MORSE TEC LLC, f/k/a BORGWARNER MORSE

TEC LLC, and Successor-by-Merger to BORG-WARNER CORPORATION, NAVISTAR INC.,

PACCAR INC., PNEUMO ABEX LLC, successor-in-interest to ABEX CORPORATION, f/k/a

PNEUMO ABEX CORPORATION , RILEY STOKER CORPORATION, UNION CARBIDE

CORPORATION, VOLVO GROUP NORTH AMERICA INC., WESTERN AUTO SUPPLY

COMPANY, the above Defendants and each of them, at all relevant times directly, and/or

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indirectly by exercising control over others doing so, mined, manufactured, sold, distributed,

marketed, specified, designed, promoted, licensed, installed, removed and/or otherwise used

asbestos and asbestos-containing materials and products, including but not limited to

manufacturing, assembling, selling, distributing, marketing, designing, promoting, licensing,

leasing and supplying for business purposes, installing, removing, maintaining, repairing and

otherwise using equipment (including vehicles), chattels, instrumentalities, procedures, and/or

technologies which included, specified, recommended, and/or required asbestos-containing

materials / products as parts, components and/or appurtenances.

       5.      Said Defendants and each of them also specified, manufactured, sold, distributed,

marketed, promoted and otherwise provided asbestos-containing replacement / aftermarket parts,

components and appurtenances used on, in and with the aforesaid equipment.

       6.      General jurisdiction is proper because Defendants and each of them are registered

to do business in Missouri, maintain a sufficient physical presence in Missouri, and have

systematically conducted and continue to conduct operations in Missouri of a quantity and quality

relative to the overall business of each of them that Defendants and each of them are deemed “at

home” in Missouri.

       7.      Specific jurisdiction is proper because, as to Defendants and each of them, a portion

of the acts, omissions and events leading to and giving rise to Plaintiff’s exposure to each

Defendant’s asbestos-containing materials / products occurred in and/or through Missouri

including, but not limited to: the manufacture, fabrication, assembly and/or production of asbestos-

containing materials / products or components thereof to which Plaintiff was exposed; the

purchase, acquisition, distribution, delivery, sale and/or resale of asbestos-containing materials /

products or components thereof to which Plaintiff was exposed; the development, design, testing


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and/or test marketing of asbestos-containing materials / products or the components thereof of the

type to which Plaintiff was exposed; the conducting of health / hygiene studies, surveys, tests

relating to the health effects and hazards of asbestos-containing materials / products or the

components thereof of the type to which Plaintiff was exposed; and/or decision-making regarding

the production and marketing of asbestos-containing materials / products or the components

thereof of the type to which Plaintiff was exposed.

       8.      During portions of the course of said employment / From 1986 to 1991, Petitioner

David Butler worked with and around the above-described materials, products, equipment,

conditions and activities and was thereby exposed to, inhaled, ingested and otherwise absorbed

asbestos and asbestos fibers from said sources.

       9.      Petitioner was also exposed to, inhaled, ingested and otherwise absorbed asbestos

and asbestos fibers during non-occupational projects including, but not limited to, home and

automotive repairs, maintenance and remodeling and/or in other ways from 1978 to 1991.

       10.     Petitioner’s exposure to the materials, products, equipment, activities and

conditions attributable to the various Defendants occurred at different times as to each and not

necessarily throughout Petitioner’s entire career or life as to any particular Defendant.

       11.     Each and every Defendant is amenable to suit in the State of Missouri by reason

of presently doing business in Missouri and/or because all or part of its tortious acts against

Petitioner occurred in and/or were directed at Missouri.

       12.     Venue is proper in the City of St. Louis, Missouri, pursuant to Missouri Revised

Statutes 508.010 because Petitioner David Butler was first exposed to asbestos outside the State

of Missouri and one or more of the named Defendants maintains a registered agent in the City of

St. Louis.


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       13.     Petitioner’s exposure to said asbestos was foreseeable and could or should have

been anticipated by all Defendants and each of them.

       14.     Defendants and each of them knew or should have known: that asbestos is toxic,

poisonous and has a deleterious effect on the health of persons exposed thereto; and, that exposure

to asbestos posed an unreasonable risk of harm to Petitioner David Butler and others similarly

situated. Defendants and each of them possessed specific and superior knowledge concerning the

hazards of asbestos including, but not limited to, that persons exposed to asbestos would inevitably

be harmed in some manner.

       15.     Petitioner and his immediate employer did not know and had no reasonable way to

know or realize the risks of being exposed to asbestos and/or the various ways and places in which

asbestos was being used by Defendants and each of them. Defendants and each of them should

have anticipated that Petitioner and his immediate employer did not know and would not discover

or realize the same.

       16.     During times relevant hereto, adequate substitutes for asbestos and for asbestos-

containing materials / products, parts and components were available, and Defendants and each of

them knew or should have known of said availability. At all times relevant hereto, Defendants and

each of them had feasible means by which to convey warnings, hazard communications and other

necessary health-related information to those using and/or working with and/or around the above-

described materials, products, equipment, conditions and activities.

       17.     As a direct and proximate result of the above-described cumulative exposure to

asbestos, Petitioner David Butler contracted and suffers from asbestos-related diseases, including

but not limited to Pleural Mesothelioma. Petitioner first became aware that of said disease(s) on

or about July 20, 2017, and subsequently became aware that the same was wrongfully caused.


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           18.   As a direct and proximate result thereof: Petitioner David Butler has been disabled,

disfigured and impaired in the enjoyment of recreational/life activities; Petitioner has incurred and

will incur in the future necessary expenses for hospital, medical and other health care services;

Petitioner has incurred and will incur in the future necessary expenses for household labor and

tasks that Petitioner can no longer perform; Petitioner has and will in the future experience physical

pain and mental and emotional suffering; Petitioner has been and will be hindered from pursuing

employment, resulting in the loss of past and future income, wages, benefits and pension rights.

                                       Count I – Negligence
                                 (materials / products / equipment)

           Petitioner David Butler by his attorneys, SIMMONS HANLY CONROY, for his cause of

action against the Defendants described in paragraph 3 of the general allegations states:

           1.    Petitioner herein incorporates by reference the General Allegations of this Petition.

This Count is brought against only the Defendants described in paragraph 3 of the General

Allegations.

           2.    At all times relevant hereto, said materials, products and equipment were being

employed in the manner and for the purposes for which they were intended. Specifically,

Defendants and each of them intended, knew and/or should have known: that asbestos-containing

parts and components would require periodic replacement; that other asbestos-containing materials

and products would be used on and/or with said equipment / vehicles / technologies; and, that said

equipment / vehicles / technologies would require regular and periodic servicing, maintenance and

repairs.

           3.    Defendants and each of them knew or should have known that said use, servicing,

maintenance and repair would involve the disturbance of asbestos-containing materials, products,

components, parts and appurtenances, such that those performing such work and others in the

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vicinity would be exposed to asbestos and asbestos fibers.

       4.      Defendants and each of them issued, provided and disseminated specifications,

catalogues, service manuals, parts lists, bulletins and like publications that gave instructions and

directions for servicing, maintaining and repairing the aforesaid equipment. Defendants and each

of them intended and/or foresaw that said publications would be used and relied upon by those

performing such work and/or training others to do the same.

       5.      At all times herein relevant, Defendants and each of them had a duty to exercise

reasonable and ordinary care for the health, safety and well-being of Petitioner and others similarly

situated who were working with and around the aforesaid materials, products and equipment

including, but not limited to, a duty to warn / communicate foreseeable hazards arising in

connection with any and all known and/or intended uses of the same.

       6.      The Defendants and each of them breached said duties and were negligent in one

or more of the following respects:

               (a)     Designed, manufactured, sold, distributed, marketed, specified, promoted,
                       licensed, installed, removed and/or otherwise used materials / products
                       which contained a dangerous, toxic and disease-causing substance—namely
                       asbestos—despite what was known and/or knowable at the time;

               (b)     Designed, manufactured, sold, distributed, marketed, licensed, leased and
                       supplied, installed, removed and/or otherwise used equipment / chattels /
                       instrumentalities / technologies that included and/or specified parts and
                       components which contained a dangerous, toxic and disease-causing
                       substance—namely asbestos—despite what was known and/or knowable at
                       the time;

               (c)     Engaged in the aforesaid activities when adequate non-asbestos substitutes
                       were available;

               (d)     Specified, recommended, promoted, encouraged and/or otherwise
                       facilitated the utilization of asbestos-containing replacement parts /
                       components for the above-described equipment / technologies;

               (e)     Provided publications and instructions that directed individuals working on

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                 or with the above-described equipment / technologies to perform work that
                 involved encountering and manipulating asbestos-containing materials /
                 products, parts, components and appurtenances in ways that would cause
                 the liberation of asbestos fibers, thereby exposing themselves and others;

           (f)   Provided publications and instructions that directed individuals working on
                 or with the above-described equipment / technologies to perform work that
                 involved encountering and manipulating asbestos-containing materials /
                 products, parts and components without including any or adequate warnings
                 / hazard communications and/or instructions as to less hazardous methods
                 for working with and/or around asbestos materials, including specific
                 instructions on how to prevent and/or reduce exposure to asbestos;

           (g)   Otherwise failed to provide any or adequate warnings / hazard
                 communications to persons working with and around the above-described
                 materials / products / equipment of the presence of asbestos and/or the
                 hazards associated therewith;

           (h)   Otherwise failed to provide any or adequate instructions to persons working
                 with and around the above-described materials / products / equipment
                 concerning less hazardous methods of working with and around the same,
                 including specific instructions on how to avoid and/or reduce exposure to
                 asbestos;

           (i)   Failed to provide adequate warnings / hazard communications and/or
                 instructions regarding asbestos-related hazards that would foreseeably be
                 encountered in the course of known and/or intended use, service,
                 maintenance and repair of said materials / products / equipment including,
                 but not limited to, those associated with other materials and products
                 foreseeably disturbed in the ordinary and intended course of such work;

           (j)   Failed to conduct tests to determine the hazards to which those working with
                 and around their materials / products / equipment would be exposed and the
                 nature and extent of such hazard;

           (k)   Failed to disclose known and knowable information concerning the
                 presence and uses of asbestos in and with the aforesaid materials / products
                 / equipment and the hazards associated therewith;

           (l)   Failed to warn as to and/or communicate the hazards of carrying asbestos
                 fibers from work into homes, vehicles and living spaces shared with family
                 and household members and/or advise of practices designed to prevent
                 and/or reduce the same; and/or,

           (m)   Failed to take adequate steps to remedy the above including, but not limited
                 to: failing to recall or require / recommend removal or replacement of

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                       asbestos and asbestos materials/ products / parts / components; failing to
                       provide any or adequate post-sale warnings / hazard communications and/or
                       instruction; and, failing to replace, recall, revise and/or edit inadequate
                       publications and instructions.

       7.       As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions on the part of the Defendants and each of them, Petitioner was exposed to

asbestos as described, causing Petitioner to develop the aforesaid asbestos disease and thereby

sustain damages as outlined above.

       WHEREFORE, Petitioner David Butler prays judgment be entered against the Defendants

for compensatory damages in excess of TWENTY-FIVE THOUSAND ($25,000.00) DOLLARS

and for costs, pre-judgment interest, post-judgment interest and such other and further relief as this

Court deems appropriate.

                             Count II – Willful / wanton misconduct
                               (materials / products / equipment)

       Petitioner David Butler by his attorneys, SIMMONS HANLY CONROY, for his cause of

action against the Defendants from Count I, states:

       1.       Petitioner herein incorporates by reference the General Allegations and paragraphs

Two (2) through Four (4) of Count I of this Petition. This Count is brought against only the

Defendants described in paragraph 3 of the General Allegations.

       2.       The Defendants and each of them had a duty to refrain from willful and wanton

acts, omissions and/or misconduct which would foreseeably expose Petitioner to an unreasonable

risk of harm.

       3.       Defendants and each of them breached said duties and committed one or more of

the following acts or omissions amounting to willful and wanton misconduct, in that they

intentionally or with reckless disregard for the health, safety and well-being of Petitioner and


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others similarly situated:

               (a)     Designed, manufactured, sold, distributed, marketed, specified, promoted,
                       licensed, installed, removed and/or otherwise used materials / products
                       which contained a dangerous, toxic and disease-causing substance—namely
                       asbestos—despite what was known and/or knowable at the time;

               (b)     Designed, manufactured, sold, distributed, marketed, licensed, leased and
                       supplied, installed, removed and/or otherwise used equipment / chattels /
                       instrumentalities / technologies that included and/or specified parts and
                       components which contained a dangerous, toxic and disease-causing
                       substance—namely asbestos—despite what was known and/or knowable at
                       the time;

               (c)     Engaged in the aforesaid activities when adequate non-asbestos substitutes
                       were available;

               (d)     Specified, recommended, promoted, encouraged and/or otherwise
                       facilitated the utilization of asbestos-containing replacement parts /
                       components for the above-described equipment / technologies;

               (e)     Provided publications and instructions that directed individuals working on
                       or with the above-described equipment / technologies to perform work that
                       involved encountering and manipulating asbestos-containing materials /
                       products, parts, components and appurtenances in ways that would cause
                       the liberation of asbestos fibers, thereby exposing themselves and others;

               (f)     Provided publications and instructions that directed individuals working on
                       or with the above-described equipment / technologies to perform work that
                       involved encountering and manipulating asbestos-containing materials /
                       products, parts and components without including any or adequate warnings
                       / hazard communications and/or instructions as to less hazardous methods
                       for working with and/or around asbestos materials, including specific
                       instructions on how to prevent and/or reduce exposure to asbestos;

               (g)     Otherwise failed to provide any or adequate warnings / hazard
                       communications to persons working with and around the above-described
                       materials / products / equipment of the presence of asbestos and/or the
                       hazards associated therewith;

               (h)     Otherwise failed to provide any or adequate instructions to persons working
                       with and around the above-described materials / products / equipment
                       concerning less hazardous methods of working with and around the same,
                       including specific instructions on how to avoid and/or reduce exposure to
                       asbestos;


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               (i)    Failed to provide adequate warnings / hazard communications and/or
                      instructions regarding asbestos-related hazards that would foreseeably be
                      encountered in the course of known and/or intended use, service,
                      maintenance and repair of said materials / products / equipment including,
                      but not limited to, those associated with other materials and products
                      foreseeably disturbed in the ordinary and intended course of such work;

               (j)    Failed to conduct tests to determine the hazards to which those working with
                      and around their materials / products / equipment would be exposed and the
                      nature and extent of such hazard;

               (k)    Failed to disclose known and knowable information concerning the
                      presence and uses of asbestos in and with the aforesaid materials / products
                      / equipment and the hazards associated therewith;

               (l)    Failed to warn as to and/or communicate the hazards of carrying asbestos
                      fibers from work into homes, vehicles and living spaces shared with family
                      and household members and/or advise of practices designed to prevent
                      and/or reduce the same; and/or,

               (m)    Failed to take adequate steps to remedy the above including, but not limited
                      to: failing to recall or require / recommend removal or replacement of
                      asbestos and asbestos materials/ products / parts / components; failing to
                      provide any or adequate post-sale warnings / hazard communications and/or
                      instruction; and, failing to replace, recall, revise and/or edit inadequate
                      publications and instructions.

       4.      As a direct and proximate result of one or more of the foregoing willful and wanton

acts and/or omissions on the part of the Defendants and each of them, Petitioner was exposed to

asbestos as described, causing Petitioner to develop the aforesaid asbestos disease and thereby

sustain damages as outlined above.

       5.      An award of punitive damages is necessary and appropriate to punish Defendants

and each of them for their willful, wanton and/or intentional misconduct and/or reckless disregard

for the health, safety and well-being of Petitioner and others and to deter said Defendant(s) and

others similarly situated from engaging in like misconduct in the future.

       WHEREFORE, Petitioner David Butler prays judgment be entered against the Defendants

for compensatory damages in excess of TWENTY-FIVE THOUSAND ($25,000.00) DOLLARS

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and for costs, pre-judgment interest, post-judgment interest and such other and further relief as this

Court deems appropriate. Petitioner further prays for an award of punitive damages separately as

to Defendants and each of them.

                                  Count III – Strict Liability
                               (materials / products / equipment)

       Petitioner David Butler by his attorneys, SIMMONS HANLY CONROY, for his cause of

action against the Defendants from Count I, states:

       1.      Petitioner herein incorporates by reference the General Allegations and paragraphs

Two (2) through Four (4) of Count I of this Petition. This Count is brought against only the

Defendants described in paragraph 3 of the General Allegations.

       2.      Said materials / products / equipment were in a defective and unreasonably

dangerous condition at the time they left the control of the Defendants and each of them in that:

(a) they contained and incorporated asbestos, a hazardous / carcinogenic substance, in a manner

that said asbestos would be liberated and inhaled by end-users; (b) they were designed and intended

to be used with materials and products that contained and incorporated asbestos, a hazardous /

carcinogenic substance, such that the regular, expected and intended use of Defendants’ materials

/ products / equipment would cause asbestos to be liberated and inhaled by end-users; (c) they

were not accompanied by any warnings or instructions regarding the asbestos hazards associated

with the regular, expected and intended use of said materials / products / equipment and/or any

such warning or instructions were not adequate.

       3.      Said materials / products / equipment reached the end-users and the point of

Petitioner’s exposure in substantially the same condition as when they left the control of the

Defendants and each of them. At all relevant times, said materials / products / equipment were



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used in the manners and environments anticipated, expected and intended by Defendants and each

of them, and which were reasonably foreseeable to Defendants and each of them.

       4.      As a direct and proximate result of one or more of the foregoing unreasonably

dangerous and defective conditions of the materials / products / equipment of the Defendants and

each of them, Petitioner was exposed to asbestos as described, causing Petitioner to develop the

aforesaid asbestos disease and thereby sustain damages as outlined above.

       WHEREFORE, Petitioner David Butler prays judgment be entered against the Defendants

for compensatory damages in excess of TWENTY-FIVE THOUSAND ($25,000.00) DOLLARS

and for costs, pre-judgment interest, post-judgment interest and such other and further relief as this

Court deems appropriate.

                                      Count IV – Negligence
                                       (loss of consortium)

       Petitioner Kathy Butler by her attorneys, SIMMONS HANLY CONROY, for her cause of

action against all Defendants named herein, states:

       1.      Petitioner herein incorporates by reference the General Allegations and the factual

allegations of Counts I-III of this Petition. This Count is brought against all Defendants named in

said Counts.

       2.      As a direct and proximate result of the negligent acts and omissions of Defendants

and each of them, which caused Petitioner’s spouse to develop the above stated asbestos-related

disease and to suffer the associated impairments and disabilities, Petitioner has and will continue

in the future to suffer a loss of support, consortium and society of said spouse, together with related

emotional suffering.

       WHEREFORE, Petitioner Kathy Butler prays judgment be entered against the Defendants

for compensatory damages in excess of TWENTY-FIVE THOUSAND ($25,000.00) DOLLARS

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and for costs, pre-judgment interest, post-judgment interest and such other and further relief as this

Court deems appropriate.

                             Count V – Willful / wanton misconduct
                                      (loss of consortium)

       Petitioner Kathy Butler by her attorneys, SIMMONS HANLY CONROY, for her cause of

action against all Defendants named herein, states:

       1.      Petitioner herein incorporates by reference the General Allegations and the factual

allegations set forth in Counts I-III of this Petition. This Count is brought against all Defendants

named in said Counts.

       2.      As a direct and proximate result of the willful, wanton, intentional and/or reckless

acts and omissions of Defendants and each of them, which caused Petitioner’s spouse to develop

the above stated asbestos-related disease and to suffer the associated impairments and disabilities,

Petitioner has and will continue in the future to suffer a loss of support, consortium and society of

said spouse, together with related emotional suffering.

       3.      An award of punitive damages is necessary and appropriate to punish Defendants

and each of them for their willful, wanton and/or intentional misconduct and/or reckless disregard

for the health, safety and well-being of Petitioner and others and to deter said Defendant(s) and

others similarly situated from engaging in like misconduct in the future.

       WHEREFORE, Petitioner Kathy Butler prays judgment be entered against the Defendants

for compensatory damages in excess of TWENTY-FIVE THOUSAND ($25,000.00) DOLLARS

and for costs, pre-judgment interest, post-judgment interest and such other and further relief as this

Court deems appropriate. Petitioner further prays for an award of punitive damages separately as

to Defendants and each of them.



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                                      Count VI – Negligence
                                      (spoliation of evidence)

       Petitioners David Butler and Kathy Butler by their attorneys, SIMMONS HANLY

CONROY, for their cause of action against all Defendants named herein, state:

       1.      Petitioners incorporate by reference the General Allegations of this Petition. This

Count is brought against all named Defendants.

       2.      Prior to the commencement of this case, Defendants and each of them had in their

respective possession, custody and control documents and information referring to, relating to

and/or reflecting issues relevant to this case.

       3.      Upon information and belief, said issues include, but are not limited to: the

identification of asbestos-containing materials / products to which Petitioner David Butler was

exposed, the locations to, and at, which Defendants sold, distributed and applied asbestos-

containing materials / products; the identity of the manufacturers and others in the distribution

chain of said materials / products; and, Defendants’ respective knowledge, notice and information

regarding the hazards of asbestos and their acts and omissions in response thereof.

       4.      It was foreseeable to a reasonable person/entity in the respective positions of

Defendants and each of them that said documents and information included evidence which was

material to pending and/or potential civil litigation involving asbestos. Said Defendants and each

of them therefore had a duty to maintain and preserve said documents and information.

       5.      Petitioners have sought, but been unable to obtain, full disclosure of said documents

and information from Defendants and each of them, leading to the inference that Defendants and

each of them destroyed and/or otherwise disposed of the same.




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       6.      Said Defendants and each of them thereby breached their duty to preserve said

material evidence at a time when they and each of them knew or should have known that the same

constituted material evidence in pending / potential civil litigation.

       7.      As a direct and proximate result of said destruction and disposal of material

evidence, Petitioners have been: prejudiced and impaired in proving claims against all potentially

liable parties including, but not limited to, the Defendants named herein; thereby compelled to

forego, dismiss and/or unfavorably compromise said claims against certain Defendants and/or

potentially liable entities; and, thereby been caused to suffer damages in the form of lost or reduced

compensation from other potentially liable parties, including certain Defendants name herein.

       WHEREFORE, Petitioners David Butler and Kathy Butler pray judgment be entered

against the Defendants for compensatory damages in excess of TWENTY-FIVE THOUSAND

($25,000.00) DOLLARS and for costs, pre-judgment interest, post-judgment interest and such

other and further relief as this Court deems appropriate.

                            Count VII – Willful / wanton misconduct
                                    (spoliation of evidence)

       Petitioners David Butler and Kathy Butler by their attorneys, SIMMONS HANLY

CONROY, for their cause of action against all Defendants named herein, state:

       1.      Petitioners incorporate by reference the General Allegations of this Petition and

paragraphs Two (2) through Five (5) of Count VI of this Petition. This Count is brought against

all named Defendants.

       2.      In destroying and disposing of said documents and information, which included

evidence material to this case, said Defendants and each of them acted intentionally and/or in

reckless disregard of their duty to preserve the same.



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       3.      As a direct and proximate result of said intentional / reckless destruction and

disposal of material evidence, Petitioners have been: prejudiced and impaired in proving claims

against all potentially liable parties including, but not limited to, the Defendants named herein;

thereby compelled to forego, dismiss and/or unfavorably compromise said claims against certain

Defendants and/or potentially liable entities; and, thereby been caused to suffer damages in the

form of lost or reduced compensation from other potentially liable parties, including certain

Defendants name herein.

       WHEREFORE, Petitioners David Butler and Kathy Butler pray judgment be entered

against the Defendants for compensatory damages in excess of TWENTY-FIVE THOUSAND

($25,000.00) DOLLARS and for costs, pre-judgment interest, post-judgment interest and such

other and further relief as this Court deems appropriate.




                                              Respectfully Submitted,

                                              David Butler and Kathy Butler, his wife,
                                              Petitioners

                                              SIMMONS HANLY CONROY


                                              By: /s/ John E. Richardson, Jr. ________
                                                      John E. Richardson, Jr., #58561
                                                      One Court Street
                                                      Alton, IL 62002
                                                      Phone: (618) 259-2222
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